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NOT FOR PUBLICATION

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                    :
 UNITED STATES OF AMERICA,                          :
                                                    :
                                                    :        ORDER
                         v.                         :
                                                    :        Crim. No. 05-858 (WHW)
                                                    :
 GHENET MARU MESFUN,                                :
                                 Defendant.         :
                                                    :
                                                    :
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                                                    :
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                                                    :

Walls, Senior District Judge

       On December 2, 2009, this Court issued an Order permitting the medical staff at FMC

Carswell to proceed with the alternative treatment of Defendant Ghenet Mesfun proposed by Dr.

Judith Cherry in her October 6, 2009 report. More than six weeks have elapsed since that time,

and the Court has not yet been apprised of Defendant Mesfun’s response to the medication or of

the staff’s evaluation of the effect and advisability of the treatment.

       It is, on this 25th day of January, 2010:

       ORDERED that the Government will provide this Court with a status update regarding

the treatment of Defendant Ghenet Mesfun within twenty (20) days of the date of this Order.



                                                               s/ William H. Walls
                                                               United States Senior District Judge
